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                                             2386



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  NICOLAS ANDRADE-ALCOCER,                           )
                                                     )
                                Petitioner,          )
                                                     )
                      vs.                            )     Case No. 1:13-cv-01369-TWP-DKL
                                                     )     Case No. 1:11-cr-25-TWP-TAB-1
  UNITED STATES OF AMERICA,                          )
                                                     )
                                Respondent.          )


                                          JUDGMENT

        The court, having this day made its Entry,

        IT IS THEREFORE ADJUDGED that the defendant take nothing by his motion to

 vacate conviction by a person in federal custody pursuant to § 2255 and the civil action docketed

 as 1:13-cv-01369-TWP-DKL is dismissed with prejudice.


       10/02/2013
 Date: _________________                                 ________________________
                                                         Hon. Tanya Walton Pratt, Judge
 Laura Briggs, Clerk                                     United States District Court
 United States District Court                            Southern District of Indiana


 ______________________
 By: Deputy Clerk

 Distribution:

 NICOLAS ANDRADE-ALCOCER
 LOMPOC FEDERAL CORRECTIONAL INSTITUTION
 Inmate Mail/Parcels
 3600 GUARD ROAD
 LOMPOC, CA 93436
